      Case 4:06-mj-00737 Document 20 Filed on 10/25/06 in TXSD Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
V.                                                 §            MAGISTRATE NO. H-06-737M
                                                   §
ANAHI CASANOVA-CRUZ                                §


                           ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), the Government moved for
detention in this case. Defendant waived his right to a detention hearing. That waiver is entered in the
record as Dkt. No.15. I conclude that the following facts are established by a preponderance of the
evidence or clear and convincing evidence and require the detention of the defendant pending trial in
this case.

                                           Findings of Fact

[]      A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

        [ ] (1) The defendant has been convicted of a (federal offense) (state or local offense that
                would have been a federal offense if a circumstance giving rise to federal jurisdiction
                had existed) that is

                []   a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                [ ] an offense for which the maximum sentence is life imprisonment or death.

                []   an offense for which a maximum term of imprisonment of ten years or more is
                     prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                []   a felony that was committed after the defendant had been convicted of two or
                     more prior federal offenses described in 18 U.S.C. § 3142(f)(1) (A)-(C), or
                     comparable state or local offenses.

        [ ] (2) The offense described in finding 1 was committed while the defendant was on release
                pending trial for a federal, state or local offense.

        [ ] (3) A period of not more than five years has elapsed since the (date of conviction) (release
                of the defendant from imprisonment) for the offense described in finding 1.
        [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
                combination of conditions will reasonably assure the safety of any other person and the
                community. I further find that the defendant has not rebutted this presumption.
       Case 4:06-mj-00737 Document 20 Filed on 10/25/06 in TXSD Page 2 of 3




[]      B.        Findings of Fact [18 U.S.C. § 3142(e)]

        [ ] (1) There is probable cause to believe that the defendant has committed an offense

                      []      for which a maximum term of imprisonment of ten years or more is
                              prescribed in 21 U.S.C.
                              ( ) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                      []      under 18 U.S.C. § 924(c).

        [ ] (2) The defendant has not rebutted the presumption established by finding 1 that no
                condition or combination of conditions will reasonably assure the appearance of the
                defendant as required and the safety of the community.

[X]     C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

        [X] (1) Defendant is a citizen of Mexico and is charged with transporting and harboring
               undocumented aliens in violation of 8 U.S.C. § 1324(a)(1)(A)(v)(I).

        [X] (2) There is a serious risk that the defendant will flee.

        [X] (3) Defendant represents a danger to the community.

        [ ] (4) There is a serious risk that the defendant will (obstruct or attempt to obstruct justice)
                (threaten, injure, or intimidate a prospective witness or juror, or attempt to do so).

[X ]    D.        Findings of Fact [18 U.S.C. § 3142(c)]

        [ ] (1)       As a condition of release of the defendant, bond was set as follows:

        [ ] (2)

        [X] (3)       I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                      § 3142(c) which will reasonably assure the appearance of the defendant as
                      required.

        [X] (4) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                § 3142(c) which will reasonably assure the safety of any other person or the
                community.

                              Written Statement of Reasons for Detention

       I find that the accusations in the complaint and the pretrial services report establish by a
preponderance of the evidence that no condition or combination of conditions will reasonably assure
the appearance of the defendant as required and by clear and convincing evidence that no condition

                                                     2
      Case 4:06-mj-00737 Document 20 Filed on 10/25/06 in TXSD Page 3 of 3




or combination of conditions will assure the safety of the community.

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

        1.      Defendant is a 29 year old female born in Mexico. Defendant has no legal status in the
                United States and U.S. Immigration and Customs Enforcement has issued a detainer
                against her.

        2.      Defendant is accused of transporting and harboring aliens in violation of 8 U.S.C.
                § 1324(a)(1)(A)(v)(I). Defendant is facing a potential penalty of up to 10 years
                imprisonment.

        3.      Defendant has no known criminal history in the United States, but the instant offense
                is one which indicates a danger to the community.

        4.      There is no condition or combination of conditions of release which would assure the
                appearance of the defendant in court or the safety of the community. Detention is
                ordered.

                                    Directions Regarding Detention

        It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel.
On order of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility shall deliver the defendant to the United States Marshal for the
purpose of an appearance in connection with all court proceedings.

        Signed at Houston, Texas, on October 25, 2006.




                                                    3
